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GOLDSMITH a HULL #92763 FJAN l l 200|
Attorney At Law 3
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Attorney Bar #71823 x ;4V damn
18425 Burbank Blvd. S`te. 615 L|V 4 ENTERED
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(318) 703-2585 Fax: (818) 996-4537
ATTORNEYS FOR PLAINTIFF 7 JAN l | mm
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UNITED sTATES oF AMERICA, ) cAsE No. A99-3563
)
Plaintiff, ) DEFAULT JUDGMENT
V. )
ANTHONY L. wALKER AKA ANTHONY)
wALKER )
)
Defendant, )
)

 

In the above»entitled acticn, an affidavit on behalf of
the plaintiff satisfying the requirements of Rule 55 having been
filed;

IT IS ADJUDGED that the United States of America, plaintiff,
do have and recover cf and from ANTHONY L. WALKER AKA ANTHONY
WALKER the sum of $2,583.06 as principal, $1,018.03 as accrued
pre-judgment interest, $14.99 for penalties/administrative
charges, and $227.36 for court Cost, plus $458.31 attorney fees,
less credits of $0.00 for a total amount of $4,301.75 plus
interest from August 28, 2000, at the rate of $.57 per day to
date of entry cf judgment.

Judgment to accrue interest at the legal rate until paid.

DATE= \ §H§B3IWBL_QABI§BL_QLEBK_QQHBI
U.S. District Court Central

District of California

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